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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:05CR162
                                             )
             Plaintiff,                      )
                                             )               MEMORANDUM
             vs.                             )                AND ORDER
                                             )
HILARIO FELIX,                               )
                                             )
             Defendant.                      )

      This matter is before the Court on the Report and Recommendation (Filing No. 215)

issued by Magistrate Judge Thomas D. Thalken recommending denial of the amended

motion to suppress filed by the Defendant, Hilario Felix (Filing No. 177). The Defendant

filed a statement of objections to the Report and Recommendation and a supporting brief

(Filing Nos. 223, 224) as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

      Felix is charged in a Superseding Indictment with conspiracy to distribute and

possess with intent to distribute 500 grams or more of a mixture or substance containing

a detectable amount of methamphetamine. Felix seeks an order suppressing evidence

obtained as a result of the wiretap interception of communications over telephone number

(402)-841-4374.

      Following an evidentiary hearing, Judge Thalken issued a Report and

Recommendation in which he concluded: probable cause existed for issuance of the

wiretap orders and, in the absence of probable cause the Leon good faith exception would

allow the admissibility of the intercepted communications; the requirement of necessity of

electronic surveillance set out in 18 U.S.C. § 2518(1)(c) was met; adequate minimization

occurred, and appropriate protocols were followed; and the sealing requirement of 18

U.S.C. § 2518(8)(a) was strictly followed.
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       On the basis of these determinations, Judge Thalken recommended that Felix‘s

amended motion be denied.

                                STANDARD OF REVIEW

       Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a), the Court shall make

a de novo determination of those portions of the report, findings, and recommendations

to which the Defendant has objected. The Court may accept, reject, or modify, in whole

or in part, the Magistrate Judge's findings or recommendations. The Court may also

receive further evidence or remand the matter to the Magistrate Judge with instructions.

                                STATEMENT OF FACTS

       The Magistrate Judge provided a detailed account of the events surrounding the

events relevant to the traffic stop, search, and arrest. The Court has considered the

transcript of the hearing conducted by the Magistrate Judge (Filing No. 199). The Court

also carefully viewed the evidence (Filing No. 195). Based on the Court’s de novo review

of the evidence and arguments, the Court adopts Judge ’s factual findings in their entirety.

                               FACTUAL BACKGROUND

       Judge Thalken set out a sufficiently detailed factual summary. Briefly, Special Agent

Drew Armstrong testified that he was the affiant for the wiretap applications.          On

September 28, 2004, U.S. District Court Chief Judge Richard G. Kopf ordered interception

for a period of thirty days. (Ex. 1A.) Monitoring began on September 28, 2004. On

October 27, 2004, November 12, 2004, December 10, 2004, and January 7, 2005, the

government obtained thirty-day extensions of the order. (Exs. 3A, 5A, 8A and 12A.)

During the period of interception, the government provided interim reports to Judge Kopf.



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(Exs. 2, 4, 6, 7, 9, 10, 11 and 13.) Monitoring ceased on February 6, 2005. On February

7, 2005, Judge Kopf ordered the recordings sealed. (Ex. 14.) The recordings were sealed

the same day. (Ex. 15.) Minimization instructions are in the record. (Ex. 16.) Monitoring

agents signed an acknowledgment that they were instructed with respect to monitoring

procedures. (Ex. 16A.)

                                        ANALYSIS

       The Defendant objects to the following legal conclusions in the Report and

Recommendation: probable cause supported the interceptions; the necessity requirement

was met; intercepted communications were appropriately minimized; the tapes were timely

sealed. The objections are discussed below.

Probable Cause

       The affidavit supporting the issuance of the wiretap order described information

received from four confidential cooperating sources. Felix argues that probable cause was

not established because Agent Armstrong lacked previous experience with three of the

sources as well as other named individuals, arguing that “reliability can only be established

through a track-record of previously viable and verified information.” With respect to

Source 2, Felix argues that although the source has previous FBI experience the affidavit

does not describe the source’s “track-record” with any specificity. Felix argues that Source

2's deception during the government polygraph supports his argument. Although the

affidavit states that the information sought in the polygraph questions to which deceptive

answers were given was corroborated by other means, the affidavit does not specify how

the information was corroborated or by whom. Otherwise, Felix generally states that “the

veracity of other sources of information is in question.” (Filing No. 224, at 7-8.)

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       Analogous to the search warrant context, probable cause exists in a wiretap

application if the totality of the circumstances shows a fair probability that a wiretap will

reveal evidence of a crime. United States v. Fairchild, 189 F.3d 769, 775 (8th Cir. 1999).

In this case, the thirty-nine page affidavit describes several individuals believed to have

committed controlled substance violations and provides the cellular telephone number

allegedly used in connection with the suspected offenses.

       The affidavit states that Source 1 did not have an ongoing relationship with the FBI,

but adds that some of the information Source 1 provided had been corroborated. Turning

to Source 2, the affidavit set out two polygraph questions that showed deception.

However, the affidavit states that despite the polygraph result much of the information

provided by Source 2 has been corroborated by “other investigative techniques, including

interviews, surveillance, controlled drug buys, and telephone analysis, as detailed further

in [the] affidavit.” (Filing No. 194, Ex. 1, Aff., ¶ 15.) The affidavit states that Source 3 had

a history of working with the Nebraska State Patrol. Source 3 previously made a controlled

buy that resulted in a federal indictment. (Id., ¶ 22.) Source 4 appeared to be a new

source to the FBI and other law enforcement agencies. (Id. ¶ 23.) The affidavit also sets

out information obtained from named sources.

       In summary, the affidavit adequately sets out sufficient probable cause indicating

that certain individuals were involved in criminal activity. Insofar as Felix’s arguments to

argue the truthfulness of the information in the affidavit relating to the corroboration of

some of the informants, Felix appears to attack the veracity of the affidavit. The Court

must make a probable cause determination based only on information within the four



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corners of the affidavit. Concerns relating to veracity must be decided pursuant to Franks

v. Delaware, 438 U.S. 154 (1978). Felix has not requested a Franks hearing.

       For these reasons, Felix’s challenge to the probable cause requirement of 18 U.S.C.

§ 2518(3) is denied.

Necessity

       Felix argues that the initial application and the subsequent extension application do

not adequately satisfy the necessity requirement of the wiretap statute. Specifically, the

statute requires “a full and complete statement as to whether or not other investigative

procedures have been tried and failed or why they reasonable appear to be unlikely to

succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c). The purpose of the

necessity requirement is to avoid wiretaps being used as an initial investigatory step.

United States v. Jackson, 345 F.3d 638 (8 th Cir. 2003).

       In this case, the affidavits supporting the initial application and the extension

application listed eight alternative investigatory techniques, including information as to why

the technique failed or cannot be used in this particular case. (Ex. 1, Aff., ¶ 61; Ex. 3, Aff.,

at ¶ 76.) The Court rejects Felix’s argument that the affidavits lack sufficient detail.

Therefore, the necessity requirement of § 2518(1)(c) has been met, and the objection is

denied.

Minimization

       Referring to the Fifteen Day Report, Felix notes that approximately 92% of the

phone calls were noncriminal, only 7.7% were found to be noncriminal in nature. Felix




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argues that the discrepancy between these figures illustrates that agents did not make

reasonable efforts at minimization as required by 18 U.S.C. § 2518(5).

       Section 2518(5) does not forbid the interception of all nonpertinent conversations,

but rather it requires agents to minimize the interception of such conversations. United

States v. Padilla-Pena, 129 F.3d 457, 464 (8th Cir. 1997).         Sometimes agents are

confronted with cases in which it is difficult, if not impossible, for them to develop a

category of innocent calls that do not require interception, Particularly where the nature

of calls might be ambiguous until the entire conversation is heard, or where the alleged

conspiracy involves a number of people, it is reasonable that many more calls be

intercepted. Scott v. United States, 436 U.S. 128, 141-42 (1978).

       Turning to this case, the alleged conspiracy involves a number of people. Code

words were often used for drugs. The alleged co-conspirators had relationships with each

other besides “drug” relationships. Therefore, under the particular facts of this case the

minimization requirement set out in § 2518(5) was met. See United States v. Jones, 801

F.2d 304, 315 (8th Cir. 1986) (stating that due to the nature of the charges, the number of

people involved, and the use of code words, the district court’s conclusion that a good-faith

effort to minimize calls was not clearly erroneous). The objection is denied.

Sealing

       The wiretap statute requires that recordings be immediately presented to the issuing

judge upon expiration of the period of the order and sealed pursuant to the judge’s

direction. 18 U.S.C. § 2518(8)(a).




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       Monitoring ceased on February 6, 2005. The recordings were presented to Judge

Kopf on February 7, 2006, and sealed the same day. Therefore, the sealing requirement

was strictly applied.   Citing no authority, Felix argues that the government had a

responsibility to seal the records thirty days after the last interception, which Felix states

occurred on January 8, 2005. (Filing No. 224, at 13.)1 Felix’s argument is rejected, as the

recordings were sealed well within the contemplated statutory time period. The objection

is denied.

                                         CONCLUSION

For the reasons discussed, the Defendant’s objections are denied.

       IT IS ORDERED:

       1.     The Magistrate Judge’s Report and Recommendation (Filing No. 215) is

              adopted in its entirety;

       2.     The Statement of Objections to the Report and Recommendation (Filing No.

              223) is denied; and

       3.     The Defendant’s Motion to Suppress (Filing No. 177) is denied.

       DATED this 24th day of October, 2006.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge




       1
        The Court notes an intercepted conversation on January 17, 2005. (Ex. 13.)

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